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3                                      UNITED STATES DISTRICT COURT

4                                     CENTRAL DISTRICT OF CALIFORNIA

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6      SONY INTERACTIVE ENTERTAINMENT                            Case No.: 5:18−cv−02141−JGB−KK
       LLC, a California limited liability company,
7                                                                [PROPOSED] JUDGMENT
                            Plaintiff,
8

9                                v.

10     ERIC DAVID SCALES (doing business as
       Blackcloak13),
11

12           Defendant.

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14
              Plaintiff Sony Interactive Entertainment LLC’s Motion for Default Judgment is GRANTED.
15
              IT IS ORDERED AND ADJUDGED that default judgment be entered as set forth below in
16
       favor of Plaintiff Sony Interactive Entertainment LLC (“SIE”) against Defendant Eric David Scales
17
       (doing business as Blackcloak13)(“Scales” or “Defendant”) on the following claims: copyright
18
       infringement and violation of the Digital Millennium Copyright Act, 17 U.S.C. § 1201 (“DMCA”).
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             1.     The Court awards Plaintiff a monetary judgment in the sum of $16,800
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                    constituting statutory damages pursuant to Section 1203(c)(3)(A) of the DMCA;
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             2.     Defendant and his agents, servants, employees, successor and assigns, and all
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                    other persons acting in concert with Defendant are permanently enjoined from:
23
                            a.    marketing, offering, selling, transferring, advertising, promoting,
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                    developing, manufacturing, importing, providing or otherwise trafficking in any
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                    products that infringe or contribute to the infringement of SIE’s intellectual
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                    property rights, including its copyrights in PS4 video games and the PS Program
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                    Code, or to participate in or facilitate any such activity;
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1                         b.   directly or indirectly infringing, or enabling or contributing to
2                  infringement of, any copyright that SIE owns or is the exclusive licensee of,
3                  including copyrights in First-Party PS4 games and in the PS Program Code;
4                         c.   marketing, offering, selling, transferring, advertising, promoting,
5                  developing, manufacturing, importing, providing or otherwise trafficking in – via
6                  eBay, the website http://foxhoundoutfitters.wixsite.com/ps3-jailbreak-mods or
7                  any other means or channels –any products or services produced or designed to
8                  circumvent the technological measures that SIE employs to protect its exclusive
9                  copyright rights in or to PS4 video games and the PS Program Code, including,
10                 but not limited to, (1) “jailbroken” or “modded” PS4 consoles, and (2)
11                 jailbreaking or “modding” services;
12                        d. infringing SIE’s rights under the Copyright Act, 17 U.S.C. § 501 et
13                 seq.; and
14                        e. violating SIE’s rights under the Digital Millennium Copyright Act,
15                 17 U.S.C. §§ 1201 – 1205.
16          3.     Plaintiff is awarded attorney's fees totaling $2,208 and costs in the amount of $1,250.
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          Dated:
19                                                  Jesus G. Bernal, U.S. District Judge

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      [PROPOSED] JUDGMENT Case No.:5:18−cv−02141−JGB−KK
